Case 2:O4-cr-20009-STA Document 55 Filed 05/31/05 Page 1 of 2 Page|D 45

 

|N THE UNITED STATES D|STR|CT COURT mm i_.»,,f_“%mwwgg
FOR THE WESTERN D|STR|CT OF TENNESSEE .
WESTERN D|V|SION @5[1:5:'{ 31 pH 3; 114
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UN|TED STATES OF AMER|CA v?l~§i"ilf:j;`l" ‘?l‘§§z|,§_?;g

P|aintiff

VS.
CR. NO. 04-20009-D

JOHN FEL|X GREER

Defendant.

 

oRDER oN coNTiNuANcE AND sPEClFYlNe PERIOD oF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on |V|ay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August t, 2005 with a
Lepgrt date of Thursdav, Julv 21, 2@§, at 9:00 a.m.. in Courtroom 3, 9th F|oor of the
Federa| Bui|ding, Memphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

n is so oRDERED this,L day or May, 2005_

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Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20009 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

